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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 Kane, et al.

                Plaintiffs,

                        vs.                     SUPPLEMENTAL DECLARATION OF
                                                SUJATA S. GIBSON
 de Blasio, et al.
                                                Civil Action No. 1:21-cv-07863
                Defendants.


STATE OF NEW YORK                     )
                                      ) ss.:
COUNTY OF TOMPKINS                    )


   SUJATA GIBSON, an attorney admitted pro hac vice to practice before this Court,

declares under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the following is

true:

   1.   I am the attorney for the Plaintiffs and am fully familiar with the facts and

        circumstances of this case.

   2. I make this declaration in support of Plaintiffs’ motion for a preliminary

        injunction.

   3. Attached hereto as Exhibit 1 is, upon information and belief, a true and accurate

        copy of the last enacted collective bargaining agreement of the United Federation

        of Teachers with NYC DOE containing material terms regarding arbitration.

   4. Attached hereto as Exhibit 2 is, upon information and belief, a true and accurate

        copy of the last collective bargaining agreement of the Council of Supervisors and

        Administrators with NYC DOE containing material terms regarding arbitration.
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5. Attached hereto as Exhibit 3 is a true and accurate copy of the PIX11 News

   publication on October 6, 2021, by James Ford entitled NYC DOE employees

   reassigned over vaccine mandates say students, schools are shortchanged.

6. Attached hereto as Exhibit 4 is a true and accurate copy of a tweet by New York

   City Council Member Mark Treyger posted on October 4, 2021 at 10:29 a.m.

7. Attached hereto as Exhibit 5 is a true and accurate copy of a transcript of the

   August 5, 2021 interview between Dr. Walensky of the CDC and Wolf Blitzer.



Dated: October 7, 2021

                                                   Respectfully Submitted,

                                                   Sujata s. Gibson

                                                   Sujata Gibson
